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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,       )           Crim. No. 13-00765 HG-02
                                )
                                )
               Plaintiff,       )
                                )
          vs.                   )
                                )
RAMON BONILLA-GALEAS,           )
                                )
                                )
               Defendant.       )
_______________________________ )

      ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION
                          (ECF No. 133)

     Defendant Ramon Bonilla-Galeas, proceeding pro se, has filed

a letter seeking reconsideration of the Court’s February 2, 2016

Order Denying his Motion for a Sentence Reduction pursuant to 18

U.S.C. § 3582(c)(2) and Amendment 782 to the United States

Sentencing Guidelines.

     Defendant’s Motion for Reconsideration (ECF No. 133) is

DENIED.

                            PROCEDURAL HISTORY


     On August 1, 2013, the grand jury returned the Indictment

charging Defendant Ramon Bonilla-Galeas with two counts, as

follows:

     Count 1 for conspiracy to knowingly and intentionally

distribute and possess with the intent to distribute fifty grams



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or more of methamphetamine in violation of 21 U.S.C. §§

841(a)(1), (b)(1)(A) and 846; and,

       Count 4 for possession with the intent to distribute fifty

grams or more of methamphetamine in violation of 21 U.S.C. §§

841(a)(1), (b)(1)(A) and 18 U.S.C. § 2.             (Indictment, ECF No.

10).

       On September 29, 2014, Defendant pled guilty to Count 1 in

the Indictment pursuant to a Plea Agreement.                (ECF No. 70).

       On July 2, 2015, Defendant was sentenced to 10 years

imprisonment as to Count 1 in the Indictment.               (ECF No. 98).     The

Court granted the Government’s motion to dismiss Count 4 in the

Indictment.   (Id.)

       On July 19, 2015, Defendant filed a Notice of Appeal.                 (ECF

No. 105).

       On January 25, 2016, Defendant filed a MOTION FOR

MODIFICATION OR REDUCTION OF SENTENCE PURSUANT TO 18 U.S.C. §

3582(c)(2) (GUIDELINE AMENDMENT No. 782).              (ECF No. 131).

       On February 2, 2016, the Court issued an ORDER DENYING

DEFENDANT’S MOTION FOR MODIFICATION OR REDUCTION OF SENTENCE

PURSUANT TO 18 U.S.C. § 3582(c)(2) AND DENYING DEFENDANT’S

REQUEST FOR APPOINTMENT OF COUNSEL.            (ECF No. 132).

       On March 1, 2016, Defendant sent a letter to the Court

seeking reconsideration of its February 2, 2016 Order Denying

Defendant’s Motion for a Sentence Reduction.                (ECF No. 133).


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                            STANDARD OF REVIEW


        A motion seeking reconsideration of a dispositive ruling in

a criminal matter is treated like a motion to alter or amend a

judgment pursuant to Federal Rule of Civil Procedure 59(e).

United States v. Belgarde, 148 F.Supp.2d 1104, 1105 (D. Mont.

2001).    Such motions must be filed within twenty-eight days of

entry of the Court’s order.       Fed. R. Civ. P. 59(e).

        On February 2, 2016, the Court issued its Order Denying

Defendant’s Motion for Sentence Reduction and served Defendant by

mail.    Pursuant to Federal Rule of Civil Procedure 6(d), three

days are added to the deadline for filing a motion for

reconsideration when the Court serves its order to a pro se

prisoner by mail.       Fed. R. Civ. P. 6(d), 5(b)(2)(C); Steger v.

Thomas, 2008 WL 4596569, *1 (D. Haw. Oct. 15, 2008).                  Defendant

had until March 4, 2016 to file a motion for reconsideration

pursuant to Fed. R. Civ. P. 59(e).

        Under the mailbox rule, a prisoner’s legal document is

deemed filed on the date the prisoner delivered it to prison

officials for mailing.      Houston v. Lack, 487 U.S. 266, 276

(1988).    The Defendant provided his letter requesting

reconsideration of the Court’s February 2, 2016 Order to prison

authorities on March 1, 2016.       (Def.’s Letter at p. 2, ECF No.

133).    Defendant filed his letter requesting reconsideration


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within twenty-eight days of the Court’s order.               Defendant’s

letter is construed as a timely motion for reconsideration filed

pursuant to Fed. R. Civ. P. 59(e).            See Am. Ironworks & Erectors,

Inc. v. N. Am. Constr. Corp., 248 F.3d 892, 898-99 (9th Cir.

2001).

     The Ninth Circuit Court of Appeals has set forth the

following grounds justifying reconsideration pursuant to Rule

59(e):

     (1)   If such motion is necessary to correct manifest errors
           of law or fact upon which the order rests;

     (2)   If such motion is necessary to present newly discovered
           or previously unavailable evidence;

     (3)   If such motion is necessary to prevent manifest
           injustice; or,

     (4)   If an amendment to the order is justified by an
           intervening change in controlling law.

     Allstate Ins. Co. v. Herron, 634 F.3d 1101, 1111 (9th Cir.

2011).   There may also be other, highly unusual, circumstances

warranting reconsideration.      Sch. Dist. No. 1J, Multnomah Cnt.,

Or. v. AcandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993).


                                ANALYSIS


     On February 2, 2016, the Court issued an Order denying the

Defendant’s request for a sentence reduction pursuant to 18

U.S.C. § 3582(c)(2) and Amendment 782 to the United States

Sentencing Guidelines.     The Court explained in the Order that


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Defendant was not eligible for a sentence reduction because

Amendment 782, which provided some sentence reductions, was in

effect when calculating his sentencing guidelines.

        Defendant has filed a letter seeking reconsideration of the

Court’s February 2, 2016 Order.        Defendant asserts in his letter

that Amendment 782 to the United States Sentencing Guidelines did

not take effect until November 1, 2015.             (Letter at p. 1, ECF No.

133).    Defendant is incorrect.

        Amendment 782 to the United States Sentencing Guidelines

became effective on November 1, 2014.             Amendment 782 reduced by

two levels some, but not all, of the base offense levels in the

Drug Quantity Tables at U.S.S.G. §§ 2D1.1 and 2D1.11.

        Amendment 782 to the United States Sentencing Guidelines was

in effect at the time of Defendant’s sentencing on July 2, 2015.

Amendment 782 was incorporated into the 2014 United States

Sentencing Guidelines.

        Defendant’s Presentence Investigation Report indicated that

the “2014 Guidelines Manual, incorporating all guideline

amendments, was used to determine the defendant’s offense level,

as this guideline manual is more advantageous to the defendant.”

(Presentence Investigation Report at ¶ 24, p. 8, ECF No. 100).

Amendment 782 was applied to Defendant.

        Defendant has not demonstrated that reconsideration is

warranted.    Defendant was subject to a statutory mandatory


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minimum sentence of 120 months pursuant to 21 U.S.C. §

841(b)(1)(A).       Defendant was sentenced to the mandatory minimum

and is not eligible for a reduction in sentence.                  (Judgment, ECF

No. 98-1).

                                 CONCLUSION


      There is no basis for reconsideration of the Court’s

February 2, 2016 Order.        Allstate Ins. Co., 634 F.3d at 1111.

     (1)     Defendant has not demonstrated any error of law or fact

             that would warrant reconsideration.

     (2)     Defendant has not presented any previously unavailable

             evidence.

     (3)     Defendant has not made any showing of manifest

             injustice.

     (4)     There has been no intervening change in controlling

             law.




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     Defendant’s Motion for Reconsideration (ECF No. 133) is

DENIED.

     IT IS SO ORDERED.

     DATED:   Honolulu, Hawaii, March 15, 2016.




                                  ___________________________________
                                  Helen Gillmor
                                  United States District Judge




United States v. Roman Bonilla-Galeas; Crim. No. 13-00765 HG-02;
ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION (ECF No.
133)

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